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  Exhibit F-II Puget Sound Anarchists Article
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  submitted by Ballard Antifa
  Please send any tips/information to BallardAntifa@protonmail.com
  UPDATE: It has been brought to our attention that Sean-Michael David Scott’s now-former
  employer has severed ties with him. This post has been updated to reflect as such.
  Over the past several weeks, anti-fascists have been exposing the violent, bigoted Proud Boys in
  the Seattle area. On August 21, 2019, there was a community advisory issued about the
  threat of violence posed by Tanner Jarl Peterson and his violent, child-abuser roommate Bryan
  Joshua Hanks. On September 5, 2019, an article documented violent, Proud Boy bigot Zachary
  Thomas Staggs. This article will identify Seattle Proud Boy Sean-Michael David Scott as a
  dangerous neo-Nazi. We will document the rallies Sean has attended, describe his profound,
  obsessive hatred for those of Jewish heritage, and finally call for readers to participate in an
  action.
  Sean-Michael David Scott
  **Date of Birth:** 12/23/1985




  Sean originally came to our attention when he was one of several protesters that wore the skull
  mask commonly associated with neo-Nazi groups Atomwaffen Division and the Rise
  Above Movement to a protest outside a Seattle area library. The following day, via Twitter,
  Sean identified himself as one of the masked protesters, then proceeded to send numerous
  “selfies” and anti-Semitic/neo-Nazi tweets to Seattle area leftists. Because we had pictures of
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  Sean both masked and unmasked as well as pictures of his easily identifiable tattoos, we were
  able to track him from event to event. However, there was no way to positively ID him until we
  received identifying information via email.




  Sean’s Attendance At “Patriot” Rallies And Other Events
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  May 25, 2019
  We believe the first public Seattle-area event Sean attended was a protest of U.S.
  Representative Ilhan Omar’s appearance in Bellevue, WA. This protest received advance
  media attention from the likes of Seattle blowhard Jason “Rantz” Antebi and attracted a
  large contingent of the notoriously Islamophobic Proud Boys. We believe this event is
  where Sean met many of the Seattle Proud Boys and the hosts of the unpopular YouTube
  channel, Operation Cold Front.




  Zachary Thomas Staggs (left), Sean-Michael David Scott (right)
  June 3, 2019
  Sean attended the event “Operation Cold Front comes to the University of
  Washington” hosted by the University of Washington College Republicans. Operation Cold
  Front was largely known in Seattle for rehashing the tired meme “It’s OK to be white,” which
  grew out of 4chan and neo-Nazi Discord chat. This sparsely attended event included
  mostly UW College Republicans and Seattle Proud Boys.
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  June 6, 2019
  Operation Cold Front hosted a live video discussion on YouTube with the chat enabled. Of
  course, the live chat during this video was riddled with anti-Semitic discourse. Conveniently,
  Sean Scott chatted using an account with his real name; his comments were almost entirely anti-
  Semitic in nature.




  The use of an (((echo))) is a common way that neo-Nazis denote people of a Jewish background
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  June 7, 2019
  There was a small “MAGA march” at Westlake Park in downtown Seattle. Sean was seen with
  Seattle Proud Boys including Tanner Jarl Peterson, Bryan Joshua Hanks, and Zachary Thomas
  Staggs. He appeared in this video harassing local liberal Jerry Savage.




  June 27, 2019
  Sean attended a protest of a Drag Queen Story Hour at a Seattle area library. Protest
  attendees included members of the Seattle Proud Boys and 3% of Washington. As mentioned
  previously, several protesters were seen wearing the skull masks made popular by Atomwaffen
  Division and the Rise Above Movement. Attendees of this event reported that protesters
  made sexualized threats as well as menaced children.
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  June 28, 2019
  The day after the Drag Queen Story Hour event, a Twitter account named Francisco Franco
  Bahamonde @caudillopraxis sent a flurry of disturbing anti-Semitic tweets to leftist
  Twitter accounts.




  Image of former fascist dictator of SpainFrancisco Franco Bahamondeand a recent photo of3 women
  giving Roman salutes.
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   Sean also sent tweets that demonstrated his familiarity with the Atomwaffen Division. “Read
   Siege” is a meme that references the collection of newsletters written by James Mason that
   were compiled into a book called Siege. The Atomwaffen poster he tweeted is one of many
   similar posters likely designed by a Canadian Nazi Dark Foreigner.
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   July 20, 2019
   On July 20th, 2019, assorted right-wingers, Seattle Proud Boys, and 3% of Washington held
   a rally in support of ICE and against anarchist Willem Van Spronsen who had just
   lost his life at the hands of the police at the Northwest Detention Center in Tacoma. Sean wore a
   skull mask at the start of this event and made a costume change mid-event.




   Sean had tweeted previously that he shouted nationalist slogans in Spanish at antifascists. In this
   video he attempted to shout the nationalist slogan, “God bless the nationalist revolution” but
   instead said “God bless the revolution of the national.”
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   August 1, 2019
   Sean showed up with a group of Proud Boys and militia members to counter-protest an event
   called “Rally Against ICE: Fight For Thy Neighbor” outside ICE’s downtown Seattle
   headquarters. This was the first time Sean was seen wearing the Proud Boy uniform.
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   Sean-Michael Scott (yellow bandana over face)
   August 17, 2019
   Sean was also seen with the Seattle Proud Boys in Portland, Oregon at the event organized
   by Joe Biggs. Shortly after this event, Zachary Staggs and Sean got matching tattoos and Zac
   tweeted a picture of Sean with the Seattle Proud Boys.




   Zachary Staggs (left), Sean-Michael Scott (right)
   August 28, 2019
   On August 28th, Sean appeared in a YouTube video with Zachary Staggs. In the video,
   Zachary Staggs claims a group phoned the Proud Boys to provide security to deliver signatures
   to Olympia, WA; but the group clearly states that the Proud Boys phoned them. It appears Zac
   took a job that the security company he works for had declined.
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   Telegram
   Telegram is a chat messaging program that allows private messaging, private group chats, and
   audio calls. Telegram is also the most recent platform taken over by neo-Nazis. Sean was
   active in several group chats but we will primarily focus on two. The first is “The Noticers,”
   which is the discussion group for the channel “The Noticer / The European Man.” The second is
   “RWCS – THE OMEGA PILL (PUBLIC)” which is the discussion group for the main Proud
   Boy channel.




   “The Noticer / The European Man” channel was started on August 20, 2019, when the founder
   realized his Twitter account was likely to be banned (it has been). This channel quickly
   became the fastest growing channel on Telegram per /telegrampol/. The purpose of “The
   Noticer / The European Man” is to compile profiles of people who have self-identified as Jewish.
   “The Noticer” compiles several tweets and a face picture, which are then posted to the group.
   The group chat associated with the “The Noticer / The European Man” channel is an explicitly
   Nazi group chat–it is comprised of well-known Nazis such as Paul Nehlen, a failed
   congressional candidate, and “Vic Mackey,” founder of Bowl Patrol, a podcast well-known
   for labeling mass shooters like Brenton Tarrant as “Saints.” The administrator of “The Noticer”
   is a neo-Nazi who once commented “Alright fam, we’re currently sitting at 1377
   subscribers – only 111 away from a very special number.” This “special number” is
   1488 which stands for the “14 words” coined by the dead Nazi terrorist David
   Lane and 88 which stands for “HH” – an abbreviation of “Heil Hitler” .
   On September 2nd, 2019, antifascists in the Pacific Northwest noticed a brand new discussion
   group for “The Noticer / The European Man” channel. The very first comment in the discussion
   group was by an account using the name “Fozzie Donowitz.” We recognized this name as
   the Twitter account of a Jewish member of the Puget Sound John Brown Gun Club.
   After chatting for a bit, “Fozzie Donowitz” changed his name to “The Gael.” Thanks to logs of
   the chat we can verify that “Fozzie Donowitz” and “The Gael” are screen names for the same
   user.
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   “The Gael” was also a member of the Proud Boy discussion group “RWCS – The OMEGA PILL
   (PUBLIC).” We looked through the messages from “The Gael” and recognized some of his
   posts. The below picture sent by “Proud Boris” looked very similar to the picture Sean had sent
   via Twitter on June 28th – “Proud Boris” had also been mentioned in this Twitter
   thread documenting the persistent and seemingly acceptable anti-Semitic chat found within
   Proud Boy chats. When we looked at a current log of the message, the message now showed it
   was sent from “The Gael.”




   Proud Boris = Fozzie Donowitz = The Gael
   Proving “The Gael” is Sean-Michael Scott was rather simple but here are a few things which will
   prove it beyond a reasonable doubt. “The Gael” stated he is about to turn 34 years old and
   from Volusia County, Florida. We know Sean’s birthdate is 12/23/85 and voter records
   from both him and his parents show he is from Debary, Florida which is in Valusia County,
   Florida.
   Sean’s good buddy Zachary Thomas Staggs also helped us verify that “The Gael” is Sean-
   Michael Scott. In a tweet Zac dares someone to doxx the skull mask-wearing guy at the NWDC
   protest. Zac used a picture of Sean from when Andrew Yang came to Seattle. Sean used a
   meme of this same picture in the Proud Boy chat. Not only is the tattoo on Sean’s knuckles
   visible, but Sean uses the same “Come at me” language he used earlier towards PSJBGC.
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   Zac and Sean also post the same picture of a flyer they removed – a flyer alerting the Seattle area
   to the presence of Operation Cold Front and the Seattle Proud Boys.




   Finally, the current Telegram profile picture for “The Gael” is a picture of himself from the
   Proud Boy march in Portland on August 17, 2019.
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   A screenshot from 8/17/19 in Portland (left), Sean’s Telegram profile pic (right).
   While Sean may have only appeared recently in the right-wing activist scene, Sean’s messages
   make it apparent he’s been an anti-Semite long before becoming a Proud Boy. When group
   members of “The Noticers” discussed books such as Mein Kampf and Kevin
   MacDonald’s Culture of Critique, Sean stated “That used to be required reading lol” and “I
   read most of that as a child.” He told the Nazi owner of “The Noticers” chat, “Gl pilling me more
   than I already am”–basically stating that he can’t hate Jews more than he already does.
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   Sean’s Telegram messages are riddled with anti-Semitic, neo-Nazi content. There are far too
   many to document them all but here are some examples:




   Sean and others praising “The Noticer” for compiling profiles of Jews for targeted harassment.




   ZOG stands for “Zionist Occupied Government” a conspiracy theory frequently espoused by neo-Nazis.
   Sean is a danger to any community he resides in. Sean is hopeful to spread the message that Jews
   are anti-white subversives. He actively seeks advice from other neo-Nazis.
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   Sean is actively making connections and expanding his network to include some of the most
   notoriously evil Nazis in the United States. As mentioned previously, “Vic Mackey” is a member
   of “The Noticers.” Here Sean had a conversation with “Vic Mackey” and received an invite into
   the “Bowl Patrol” chat room:




   Action
   Sean stated on Telegram “Now
                              I’m an irl (in real life) activist” and that he has “even
   better connections than before.” He claimed he joined the Proud Boys “cuz the west is
   the best and we make shit happen.”
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   Sean identified Proud Boy “elder”Ethan Nordeanas the president of his Proud Boy group
   Sean’s online and real life organizing must be staunchly opposed.


   There is also have a flyer that you can share posterseanscott.
   Clear Pictures of Sean-Michael David Scott




                                         E  D
   Identifying Information
        **Date of Birth:**          A CT
                                  D
                               RE
   **Address:** 2008 NW 59th St. #A, Seattle, WA 98107


   **Phone:** (425)941-0622
   **Email:** Sean@aldnw.com, seanmichael.scott@att.net


   **Social Media:** Telegram, deleted Instagram: @floridamangg, deleted Facebook name:
   Jack Torrance
